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                       UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF IDAHO

LOURDES MATSUMOTO,
NORTHWEST ABORTION ACCESS                    Case No. 1:23-cv-00323-DKG
FUND, and INDIGENOUS IDAHO
ALLIANCE                                     DEFENDANT’S RESPONSE
                                             TO PLAINTIFFS’ MOTION TO
                            Plaintiffs,      MODIFY INJUNCTION
                  v.                         [DKT. 55]

RAÚL LABRADOR, in his capacity
as the Attorney General for the State
of Idaho
                          Defendant.


      The Attorney General does not oppose the Plaintiffs’ Motion to Modify

Injunction [Dkt. 55] in light of the decision from the U.S. Court of Appeals for the

Ninth Circuit, but does oppose the proposed injunction filed by the Plaintiffs. The

proposed injunction goes far beyond what the Ninth Circuit decision allows, would

introduce substantial uncertainty in the enforcement of the statute, and is simply a




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backdoor attempt to have the enforcement of the entire statute enjoined, despite the

Ninth Circuit’s opinion allowing most of the statute to be enforced.

      Instead of adopting the Plaintiff’s proposed injunction, the Court, in

compliance with the Ninth Circuit’s opinion, should instead simply enjoin the

Attorney General from enforcing against the Plaintiffs the recruiting prong of Idaho

Code § 18-623, without listing any specific activities.1

      In the Ninth Circuit opinion, the Court only affirmed this Court’s “order

preliminarily enjoining the Idaho attorney general from enforcing the ‘recruiting’

prong of [Idaho Code §] 18-623,” but “reverse[d] the district court” “with respect to

the remainder of the statute.” Matsumoto v. Labrador, 122 F.4th 787, 816 (2024). The

Court therefore “remand[ed] to the district court to modify the preliminary injunction

consistent with this opinion.” Id. Thus, other than the recruiting prong of the statute,

the Attorney General is allowed to enforce every other part of the statute, including

the harboring and the transporting prongs.

      To be consistent with the opinion, the only action this Court may do is to enjoin

the Attorney General from enforcing the recruiting prong of the statute. Based on the

Ninth Circuit’s opinion, this Court has no authority to “vary or examine that mandate

for any purpose other than executing it” and would “commit jurisdictional error if it

takes actions which contradict the mandate.” Stacy v. Colvin, 825 F.3d 563, 568 (9th




1 The Attorney General is not conceding that the recruiting prong of the statute is

unconstitutional, and is not conceding that an injunction is proper in this case.
Rather, the Attorney General is simply acknowledging the Ninth Circuit’s opinion
and suggesting the best way for this Court to comply with that opinion.


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Cir. 2016) (cleaned up) (citation omitted). This includes issues “impliedly disposed of

on appeal[.]” Id. (quoting Odima v. Westin Tucson Hotel, 53 F.3d 1484, 1497 (9th Cir.

1995)).

      Nevertheless, the Plaintiffs ask the Court to include two and a half pages of

additional activities that they would like this Court to enjoin the Attorney General

from enforcing, including activities falling within portions of the statute which the

Ninth Circuit has clearly held the Attorney General may enforce.

      For example, the Plaintiffs ask this Court to enjoin enforcement of the statute

in cases involving the “assisting a minor regarding obtaining an abortion without

informing a parent.” See Dkt. 55-2 at ¶ 15. That would encompass the entire statute,

and is clearly in contravention of the Ninth Circuit’s opinion. The Ninth Circuit

clearly held that the Attorney General may enforce the portions of the statute that

prohibit obtaining an abortion by transporting or harboring a minor with the intent

to conceal the abortion from the minor’s parents. Matsumoto, 122 F.4th at 816.

      Consider a situation in which a person transports a minor by giving the minor

a ride to the abortion clinic (whether that is in state or out of state), harbors that

minor by allowing the minor to stay at the person’s house located within the State of

Idaho, and procures the abortion for the minor by paying for the abortion,

transporting the minor to the abortion clinic, and harboring the minor, all with the

intent to conceal the abortion from the minor’s parents. That person clearly violates

the transporting and the harboring provisions of the statute. The Attorney General




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is allowed to enforce those provisions per the Ninth Circuit’s opinion. But, those

actions would also constitute “assisting a minor regarding obtaining an abortion.”

      As another example, consider a situation in which an adult who lives in the

State of Idaho has obtained an abortion inducing drug. The adult invites a pregnant

minor girl into the adult’s house, which invitation the young girl accepts, and makes

that abortion inducing drug available to the young girl, which she then takes. The

adult allows the young girl to stay in the adult’s house for several days after taking

the abortion inducing drug to keep an eye on the girl. The adult does all of these

actions with the intent to conceal the abortion from the minor’s parents. In this

situation the adult has violated the statute by obtaining an abortion inducing drug

for the minor and harboring the minor with the intent to conceal the abortion from

the minor’s parents. Per the Ninth Circuit’s opinion, the Attorney General is allowed

to enforce that provision of the statute. But, that enforcement would violate ¶ 10 of

the Plaintiffs’ proposed injunction, which would prohibit enforcement of the activity

of “fully funding an … abortion-inducing medication … and providing free or

discounted services,” the free services being lodging and providing the abortion

inducing medication. A prosecution in that situation would also violate ¶¶ 7, 9, 12,

14, and 15 of the Plaintiffs’ proposed injunction.

      The Attorney General could list example after example to illustrate the point,

but it is sufficient to state that through the Plaintiffs’ overbroad additions to their

proposed injunction, they are trying to convince this Court to do that which the Ninth

Circuit has prohibited, i.e. enjoin enforcement of the entire statute. Indeed, it is




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difficult to conceive of any prosecution of the statute allowed by the Ninth Circuit

that would not violate some portion of the Plaintiffs’ overbroad and vague proposed

injunction.

      Plaintiffs argue that their sweeping injunction is necessary to address

“uncertainty or confusion.” Dkt. 55 at 2. But the Ninth Circuit squarely found that

Plaintiffs lacked a likelihood of success on the merits of all of their Fourteenth

Amendment void-for-vagueness concerns including the verb ‘recruit.’ Matsumoto, 122

F.4th 805–06. Plaintiffs are not entitled to an advisory opinion as to what activities

are, or are not, prohibited under the enjoined verb when the Ninth Circuit has

expressly held that all of the verbs are constitutionally comprehensible. There is

nothing to clarify here; and instead such an injunction would vitiate the mandate by

giving Plaintiffs exactly the Fourteenth Amendment relief that the Ninth Circuit

found they were not entitled to.

      In fact, Plaintiffs’ proposed additions to the injunction would also add in

substantial uncertainty. The Plaintiffs admit that injunctions are supposed to

“prevent uncertainty or confusion on the part of those subject to the injunctive order.”

See Dkt. 55 at 2 (citing Melendres v. Skinner, 113 F.4th 1126, 1139 (9th Cir. 2024).

But, by including two and a half pages of specific activities, some of which clearly fall

within the transporting and harboring prong of the statute, the Plaintiffs seek to add

in substantial uncertainty. This uncertainty will include whether the totality of the

person’s activities may be considered in determining whether the intent prong of the

statute has been met, whether the activities that would constitute procuring an




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abortion by harboring or transporting a minor may be used to support a prosecution

even if they are listed on the injunction, and, indeed, whether the statute may be

enforced at all.

      Beyond this, Plaintiffs lack irreparable harm with respect to several activities

in the injunction given that they haven’t pled an intent to engage in them. These

include “[o]ffering a discount for medical procedures” (Dkt. 55-1 at (12)(c)),

“broadcasting the availability of [abortion] appointments to minors” (Id. at (12)(e)),

“providing a hotline” (Id. at (13)(a)), “distributing pamphlets” (Id. at 16) or “public

advocacy or information campaigns.” Plaintiffs do not specify any plans—past or

present, specific or general—to do any of these things either in the Complaint, Dkt.

1, or in the declarations attached to the motion for preliminary injunction. See Dkts.

12-7, 12-8, 12-9. Similarly, some of the activities simply are not implicated by Idaho

Code Section 18-623 at all as the Ninth Circuit has found (and Plaintiffs

acknowledge)—and therefore there cannot possibly be any harm as to those activities.

See Dkt. 55-2 at nn.1, 2, 3. These include “soliciting donations,” preserving anonymity

of membership, or “belonging to an organization.” Id. at (1), (2), (3).

      Thus, for all of those reasons, the Attorney General does not oppose the

Plaintiffs’ motion to modify the injunction to the extent that it would enjoin the

Attorney General from enforcing the word “recruit” in Idaho Code § 18-623, but asks

that the Court deny the motion to the extent that it lists specific activities in

paragraphs 1-18 of their proposed injunction. Further, to comply with the directive of

Labrador v. Poe, 144 S.Ct. 921 (2024), and thereby ensure that the injunction is no




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broader than necessary to address the Article III injury that the Ninth Circuit (at

this point) believes that Plaintiffs have pled, the Court must limit the injunction to

only enjoining the Attorney General from enforcing the recruiting prong of the statute

against only the named Plaintiffs in this case.

      A proposed modified injunction is being sent contemporaneously to the Court’s

email address for proposed orders.



      DATED: February 13, 2025.

                                        STATE OF IDAHO
                                        OFFICE OF THE ATTORNEY GENERAL


                                     By: /s/ James E. M. Craig
                                        JAMES E. M. CRAIG
                                        Chief, Civil Litigation and
                                        Constitutional Defense




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                           CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on February 13, 2025, the foregoing was electronically
filed with the Clerk of the Court using the CM/ECF system which sent a Notice of
Electronic Filing to the following persons:


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                                       Chief, Civil Litigation and
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